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IN THE UNITED STATES DISTRICT COURT Sa
FOR THE DISTRICT OF PUERTO RICO 2 Ay OF, S

UNITED STATES OF AMERICA, Wan, Coup
Plaintiff,
V.

[1] EDWIN ALLENDE-RIVERA,
Defendant.

 

 

 

PLEA AGREEMENT
[Pursuant to Federal Rules of Criminal Procedure 11(c)(1)(A) &(B)]

TO THE HONORABLE COURT:

COMES NOW the United States of America through its counsel Rosa Emilia Rodriguez-
Vélez, United States Attorney for the District of Puerto Rico; José Capo-Iriarte, Assistant United
States Attorney, Chief, Criminal Division; Alberto Lopez-Rocafort, Assistant U.S. Attorney, Chief,
Gang Unit; Vanessa E. Bonhomme, Assistant U.S. Attorney; defendant’s counsels, Diego Alcala-
Laboy, Esquire, and defendant Edwin Allende-Rivera, pursuant to Rule 11(c)(1)(A) & (B) of the
Federal Rules of Criminal Procedure, state to this Honorable Court, that they have reached an

agreement, the terms and conditions of which are as follows:
1. COUNT(S) TO WHICH DEFENDANT PLEADS GUILTY

The defendant agrees to plead guilty to Count THREE of the Indictment, charging the
defendant with knowingly and intentionally committing an offense against the United States, to wit:
Possession with Intent to Distribute Cocaine Base (Crack). Specifically, on or about April 11, 2018,
in the District of Puerto Rico and within the jurisdiction of this Court, [1] Edwin Allende-Rivera did
knowingly and intentionally possess with intent to distribute a mixture or substance containing

twenty-eight (28) grams or more of a detectable amount of cocaine base (crack), a Schedule II

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Narcotic Drug Controlled Substance, all in violation of Title 21, United States Code, Section
841(a)(1).
2. STATUTORY PENALTIES

The defendant understands that the penalty for the abovementioned count is a minimum term
of imprisonment of five (5) years up to a maximum term of imprisonment of forty (40) years, a fine
not to exceed five million dollars ($5,000,000.00), and a term of supervised release of not less than
four (4) years in addition to any term of incarceration, pursuant to Title 21, United States Code,
Sections 841(b)(1)(B). The Court must impose a mandatory penalty assessment of one hundred

dollars ($100.00).

However, for purposes of this plea, the defendant will be held responsible for the possession
of at least 16.8 grams but less than 22.4 grams of cocaine base (crack). Therefore, the statutory penalty
is a term of imprisonment of not more than twenty (20) years, a fine not to exceed one million dollars
($1,000,000.00), and a term of supervised release of at least 3 years in addition to any term of
incarceration, pursuant to Title 21, United States Code, Section 841(c). The Court must impose a
mandatory penalty assessment of one hundred dollars ($100.00).

3. APPLICABILITY OF UNITED STATES SENTENCING GUIDELINES

Defendant understands that the sentence will be left entirely to the sound discretion of the
Court in accordance with 18 U.S.C. §§ 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which have been rendered advisory by the United States Supreme Court
decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant acknowledges that

parole has been abolished and that the imposition of his sentence may not be suspended.

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4. SPECIAL MONETARY ASSESSMENT

The defendant agrees to pay a special monetary assessment of one hundred dollars ($100.00)
per count of conviction to be deposited in the Crime Victim Fund, pursuant to Title 18, United States
Code, Section 3013(a).

5. FINES AND RESTITUTION

The defendant is aware that the Court may, pursuant to Section 5E1.2 of the Sentencing
Guidelines Manual, order the defendant to pay a fine sufficient to reimburse the government for the
costs of any imprisonment, probation or supervised release ordered and also that the Court may
impose restitution. As part of this plea agreement, the defendant agrees to execute a financial

statement to the United States (OBD Form 500).
6. RULE 11(c)(1)(B) WARNINGS

Defendant understands that, pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal
Procedure, the Court is not bound by these sentencing guidelines calculations, that is, the Court may

impose a harsher or lesser sentence in spite of the recommendations set forth herein. Also, the

WW defendant understands that defendant may not withdraw defendant’s plea solely as a result of the final

sentencing guidelines calculations made by the Court. The defendant is aware that the Court has
jurisdiction and authority to impose any sentence within the statutory maximum set for the offense to
which the defendant pleads guilty. If the Court should impose a sentence up to the maximum
established by statute, the defendant cannot, for that reason alone, withdraw a guilty plea, and will
remain bound to fulfill all of the obligations under this plea agreement. Moreover, the United States
reserves the right to carry out its responsibilities under the sentencing guidelines. Specifically, the
United States reserves the right: (a) to bring its version of the facts of this case including its file and
any investigative files to the attention of the probation office in connection with that office’s

preparation of a pre-sentence report; (b) to dispute sentencing factors or facts material to sentencing

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within the bounds of the plea agreement; and (c) to seek resolution of such factors or facts in
conference with opposing counsel and the probation office.
7. UNITED STATES RESERVATION OF RIGHTS

The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Specifically, the United States reserves the right: (a) to bring its version of the facts of
this case including its file and any investigative files to the attention of the probation office in
connection with that office's preparation of a presentence report; (b) to dispute sentencing factors or
facts material to sentencing; (c) to seek resolution of such factors or facts in conference with fipaasing
counsel and the probation office.

8. NO STIPULATION AS TO CRIMINAL HISTORY CATEGORY

The parties make NO stipulation as to the defendant's Criminal History Category.

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9. SENTENCING GUIDELINE CALCULATIONS
Although the Guidelines are now advisory in nature, the sentencing court, in imposing

sentence, is required to consider the Guideline “sentencing range established for the applicable

category of the offense committed by the defendant.” United States v. Booker, 543 U.S. 220 (2005):

 

 

 

 

 

SENTENCING GUIDELINES CALCULATION TABLE (COUNT THREE)
Title 21, U.S.C., Section 841(a)(1)
BASE OFFENSE LEVEL [U.S.S.G. §2D1.1(c)(10)] 20
(Possession of at least 16.8 grams but less than 22.4 grams of cocaine base)
Acceptance of Responsibility [§ 3E1.1] -3
TOTAL OFFENSE LEVEL 17
IMPRISONMENT RANGE IF CRIMINAL HISTORY CATEGORY I 24-30
IF CRIMINAL HISTORY CATEGORY II 27-33
IF CRIMINAL HISTORY CATEGORY III 30-37
IF CRIMINAL HISTORY CATEGORY IV 37-46
IF CRIMINAL HISTORY CATEGORY V 46-57
WW IF CRIMINAL HISTORY CATEGORY VI 51-63
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10. STIPULATION AS TO THE AMOUNT OF NARCOTICS

The United States of America and Defendant, EDWIN ALLENDE-RIVERA, stipulate for

 

purposes of this Plea Agreement that this defendant shall be accountable for conspiring to possess
with the intent to distribute at least 16.8 grams but less than 22.4 grams of cocaine base (crack), a
Schedule II Narcotic Drug Controlled Substance. All in violation of Title 21, United States Code,

Section 841(a)(1).
11. SENTENCE RECOMMENDATION

The parties agree and recommend that the defendant be sentenced to twenty-four (24) months
imprisonment, regardless of his criminal history. The defendant would agree that this sentence

recommendation is reasonable pursuant to Title 18, United States Code, Section 3553 (a).

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12. WAIVER OF APPEAL
Defendant knowingly and voluntarily agrees that, if the imprisonment sentence imposed by
the Court is thirty (30) months or less, the defendant waives the right to appeal any aspect of this
case’s judgment and sentence, including but not limited to, the term of imprisonment or probation,
restitution, fines, forfeiture, and the term and conditions of supervised release.
13. NO FURTHER ADJUSTMENTS, DEPARTURES, OR VARIANCE
The United States and the defendant agree that no further adjustments or departures to the
defendant’s total adjusted base offense level and no variant sentence under 18 USC § 3553 shall be
sought by the parties. This Plea Agreement has taken into consideration all Title 18, United States
Code, Section 3553 factors. Any recommendation for a term of imprisonment below what has been

stipulated in paragraph (9) above will constitute a material breach of the plea agreement.
14. DISMISSAL OF REMAINING COUNTS
\ The remaining count of the indictment will be dismissed at the time of sentencing.
: WW 15. JURISDICTIONAL LIMITS OF PLEA AGREEMENT
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It is specifically understood by the defendant, that this plea agreement does not extend to or

 

bind other federal districts, federal civil and/or tax authorities, and/or State or Commonwealth of
Puerto Rico tax authorities, civil and/or State or Commonwealth of Puerto Rico law enforcement
authorities.

16. SATISFACTION WITH COUNSEL

The defendant represents to the Court to be satisfied with counsel, Diego Alcala-Laboy, and

indicates that counsels have rendered effective legal assistance.

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17. RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA

Defendant understands that by entering into this agreement, defendant surrenders certain
rights as provided in this agreement. Defendant understands that the rights of criminal defendants

include the following:

a. If the defendant had persisted in a plea of not guilty to the charges, defendant would
have had the right to a speedy jury trial with the assistance of counsel. The trial may be conducted

by a judge sitting without a jury if the defendant, the United States and the judge agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay persons selected
at random. The defendant and the defendant's attorney would assist in selecting the jurors by
removing prospective jurors for cause where actual bias or other disqualification is shown, or by
removing prospective jurors without cause by exercising peremptory challenges. The jury would
have to agree, unanimously, before it could return a verdict of either guilty or not guilty. The jury
would be instructed that the defendant is presumed innocent, that it could not convict the defendant
unless, after hearing all the evidence, it was persuaded of the defendant's guilt beyond a reasonable
doubt, and that it was to consider each charge separately.

ce If a trial is held by the judge without a jury, the judge would find the facts and, after
hearing all the evidence and considering each count separately, determine whether or not the evidence
established the defendant's guilt beyond a reasonable doubt.

d. At a trial, the United States would be required to present its witnesses and other
evidence against the defendant. The defendant would be able to confront those witnesses and
defendant's attorney would be able to cross-examine them. In turn, the defendant could present
witnesses and other evidence on defendant's own behalf. If the witnesses for the defendant would not

appear voluntarily, defendant could require their attendance through the subpoena power of the Court.

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€. Ata trial, the defendant could rely on the privilege against self-incrimination to decline
to testify, and no inference of guilt could be drawn from the defendant's refusal to testify. If the

defendant desired to do so, the defendant could testify on the defendant's own behalf.
18. STIPULATED VERSION OF FACTS

The accompanying Stipulated Version of Facts signed by the defendant is hereby incorporated
into this plea agreement. Defendant adopts the Version of Facts and agrees that the facts therein are
accurate in every respect and that, had the matter proceeded to trial, the United States would have
proven those facts beyond a reasonable doubt. Further, the defendant agrees that said statement of
facts can be used by the sentencing judge in determining the application of any sentencing guidelines

in the instant case.

 

19. LIMITATIONS OF PLEA AGREEMENT

Defendant is fully aware that the Court is not bound by this plea agreement, including but not

limited to: advisory sentencing guidelines calculations, stipulations, and/or sentence

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i recommendations. In addition, this plea agreement binds only the United States Attorney's Office for

the District of Puerto Rico and the defendant; it does not bind any other federal district, state or local
authorities.
20. ENTIRETY OF PLEA AGREEMENT
This written agreement and the supplement constitute the complete Plea Agreement between
the United States, the defendant, and the defendant's counsel. The United States has made no
promises or representations except as set forth in writing in this plea agreement and deny the existence

of any other term and conditions not stated herein.

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21. AMENDMENTS TO PLEA AGREEMENT

No other promises, terms or conditions will be entered unless in writing and signed by all

parties.

22. VOLUNTARINESS OF GUILTY PLEA

It is understood by the defendant, that defendant is entering into this plea agreement without

compulsion, threats, or any other promises from the United States Attorney or any of his agents. The

defendant acknowledges that no threats have been made against the defendant and that the defendant

is pleading guilty freely and voluntarily because the defendant is, in fact, guilty

ROSA EMILIA RODRIGUEZ-VELEZ

United States Attorney

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[ios Capé-Triarté 2
Assistant United States Attorney

Chief, Criminal Division
Dated:

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€ov Alberto Lépez-Rocafort
Assistant United States Attorney
Deputy Chief, Narcotics Unit
Dated:

VOWWRD

Vanessa E. Bonhomme
Assistant United States Attorney

Dated: lan RIA

Diego Alpala-Laboy, Esq.

ounsel for Defendant
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Edwin Allende-Rivera
Defendan

Dated: D1 /rck °

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ACKNOWLEDGMENT

I have consulted with my counsel and fully understand all of my rights with respect to the
Indictment pending against me. Further, I have consulted with my attorney and fully understand my
rights with respect to the provisions of the Sentencing Guidelines, Policy Statements, Application,
and Background Notes which may apply in my case. My counsel has translated the plea agreement
to me in the Spanish language and | have no doubts as to the contents of the agreement. I fully

understand this agreement and I voluntarily agree to it.

 

 

an ' We |
Date Edwin Allende-Rivera
Defendant

I am the attorney for the defendant. I have fully explained to the defendant his rights with
respect to the pending Indictment. Further, I have reviewed the provisions of the Sentencing
Guidelines, Policy Statements, Application, and Background Notes, and I have fully explained to the
defendant the provisions of those guidelines which may apply ia this case. I have carefully reviewed
every part this Plea Agreement with the defendant. To my knowledge, the defendant is entering into
this agreement voluntarily, intelligently and with full knowledge of all consequences of defendant’s

plea of guilty.

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Date go Alcala-Laboy
Counsel for Defendant

  

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STIPULATED VERSION OF THE FACTS

In conjunction with the submission of the accompanying Plea Agreement in this case, the
United States of America submits the following statement setting forth the United States’ version of
the facts leading to the defendant's acceptance of criminal responsibility for defendant’s violation of
Title 21, United States Code, Section 841(a). If this matter had proceeded to trial, the United States
would have presented evidence through live testimony, physical evidence, and documentary

evidence, which would have proven beyond a reasonable doubt the following:

On or about April 11, 2018, in the District of Puerto Rico and within the jurisdiction of this
Court, [1] EDWIN ALLENDE-RIVERA and his co-defendant did knowingly and intentionally
possess with intent to distribute twenty-eight (28) grams or more of a mixture or substance containing
a detectable amount of cocaine base (crack), a Schedule I] Narcotic Drug Controlled Substance. In
violation of Title 21, United States Code, Section 841(a)(1). Specifically, for purposes of this plea
agreement, the defendant is being held responsible for the possession with intent to distribute more
than 16.8 grams but less than 22.4 grams of cocaine base (crack).

Specifically, on April 11, 2018, Puerto Rico Police Department agents were conducting
surveillance at 12" Street in the Capetillo Ward located in San Juan, Puerto Rico. PRPD agents
observed two individuals, later identified as Edwin ALLENDE-RIVERA and Nancy SANTOS-
ALEJANDRO, in a known drug point. While ALLENDE-RIVERA conducted drug transactions,
SANTOS-ALEJANDRO acted as a lookout.

PRPD agents approached the aforementioned drug point and observed ALLENDE-RIVERA
throw the black backpack to a residence located behind him. When the PRPD agents approached
ALLENDE-RIVERA and SANTOS-ALEJANDRO, they noticed a strong odor of marihuana.

PRPD agents identified themselves as police officers and detained ALLENDE-RIVERA and

SANTOS-ALEJANDRO for further investigation. Agents retrieved the black backpack abandoned

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by ALLENDE-RIVERA. The bag contained heroin, cocaine, cocaine base, and marijuana — all
packaged in a manner consistent with street level distribution. Agents also seized one radio scanner,
one drug ledger, one black-colored mask, and two cellular phones from the bag.

A subsequent search of SANTOS-ALEJANDRO’s vehicle also revealed marijuana and heroin
located in a hidden compartment in the backseat of the vehicle.

The United States would have proven these facts beyond a reasonable doubt through the
presentation oP physical, testimonial, and documentary evidence, such as photographs; and the
testimony of agents from the Puerto Rico Police Department and ATF agents, in addition to forensic

chemist experts from the DEA laboratory, among others.

Discovery was timely provided to the defendant.

 

 

“dein Allende-Rivera

Defendant
Dated: 7 3I/re, 4

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UV
Vanessa E. Bonhomme nigel Alaa Laby
Assistant United States Attorney Counsel for Defendant
Dated: 3/25/7014 Dated: 2/3)/20 5

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